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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF KENTUCKY

AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Daniel W. Nally, being duly sworn, depose and state as follows:

. Lama Special Agent (SA) with the United States Department of Justice, Federal Bureau of
Investigation, (FBI) and have been so employed since January 2016. I am a graduate of the
FBI Academy and a Federal Law Enforcement Officer.

. [have specialized training in the enforcement of federal laws. I am authorized to conduct
criminal investigations of violations of Title 18, United States Code, Sections 875(c), 1201(a),
1344, and 1028A.

_ The information contained in this affidavit is based upon my consultation with other FBI
agents, my review of certain records and documents, interviews of witnesses, and information
provided by other state and local law enforcement officers.

. Asaresult of my training and experience as an FBI Special Agent, I am familiar with federal
criminal laws including: Title 18, United States Code, Sections 875(c), 1201(a), 1344, and
1028A.

_ For the reasons discussed below, I respectfully submit that this Affidavit contains probable
cause to believe BRYAN DOUGLAS CONLEY has violated Title 18, United States Code,
Sections 1201(a), 1344, 1028A, and 875(c). I have set forth only the facts that I believe are
necessary to establish probable cause to believe that violations of these statutes have been
committed by CONLEY. The information contained herein is not all the information I

possess with respect to the commission of the crimes referred to herein.
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FACTS IN SUPPORT OF PROBABLE CAUSE

On January 29, 2019 at approximately 10:00 AM CST, R.W. left her residence located at
1008 Green Hill Cove, Brentwood, TN. R.W. left in her 2013 Toyota Prius, which was later
recovered at a Kroger parking lot located at 185 Adam Shepherd Parkway, Shepherdsville,
KY by personnel from the FBI Louisville Field Office.

. On January 29, 2019 at approximately 1:45 PM CST, the Brentwood Police Department
(BPD), located in Brentwood, Tennessee, received a call from M.W., who reported her
daughter, R.W. had been kidnapped. Prior to calling BPD, M.W. received threatening
iMessages on her phone (615-838-4651) from R.W.’s phone number (615-636-5512).
CONLEY, using R.W.’s cellular telephone, claimed to have R.W. In subsequent messages
from CONLEY, he directed M.W. to pay a ransom of $20,000 to ensure R.W.’s release.
CONLEY told M.W. and another family member to start driving towards Toledo, OH, where
M.W. would receive another call from CONLEY.

. Furthermore, CONLEY told M.W. that R.W. was being held at a residence in Toledo, OH, but
later changed the location to Cincinnati, OH. CONLEY refused to allow M.W. to tall with
R.W., but sent M.W. a proof of life photograph at approximately 6:42 PM CST. The proof of
life photograph depicted R.W. inside an unknown vehicle with what appeared to be binding

material around her mouth. (see below)
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10. BPD reviewed the proof of life photograph and determined that the interior of the vehicle
was consistent with a 2013-2018 Ford Taurus SE.

11. The following are examples of iMessages CONLEY sent from 615-636-5512 to 615-838-
4651 (R.W.’s mother’s iPhone) or to 615-406-8175 (R.W.’s father’s iPhone):

a. 615-636-5512 to 615-838-4651 on 1/29/2019 1:45 PM CST: Good I am actually
the woman who has your daughter. No cops. Nothing stupid ok

b. 615-636-5512 to 615-838-4651 on 1/29/2019 1:46 PM CST: Or I sell her and you
won’t see her again

c. 615-636-5512 to 615-838-4651 on 1/29/2019 1:51 PM CST: Pack everything you
have worth value and head towards 185 Adam Shepherd Pkwy

d. 615-636-5512 to 615-838-4651 on 1/29/2019 1:51 PM CST: You'll find her car at
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the Kroger to show I’m for real.

e. 615-636-5512 to 615-838-4651 on 1/29/2019 1:54 PM CST: One cop or police
report she’s done. Goal is close to 20,000 as you can

f. 615-636-5512 to 615-838-4651 on 1/29/2019 3:18 PM CST: My contact will be
here in 12 hours to buy thensex slaves

g. 615-636-5512 to 615-838-4651 on 1/29/2019 3:19 PM CST: You got till then

h. 615-636-5512 to 615-838-4651 on 1/29/2019 3:21 PM CST: No marked bills or
anything over a 50

i. 615-636-5512 to 615-838-4651 on 1/29/2019 3:29 PM CST: Remember to tell her
kids that mommy is in Canada getting tricks run on her because of other family
responsibilities

j. 615-636-5512 to 615-838-4651 on 1/29/2019 6:51 PM CST: Hurry up or she will
be sold soon

k. 615-636-5512 to 615-838-4651 on 1/29/2019 7:22 PM CST: You have ten minutes
to be on road or I sell her ass

lL. 615-636-5512 to 615-838-4651 on 1/29/2019 7:49 PM CST: She will be missing
fingers and toes if you don't hurry le fuck up

m. 615-636-5512 to 615-838-4651 1/29/2019 8:45 PM CST: Your daughter will be
sold soon if your not on the fucking road

n. 615-636-5512 to 615-838-4651 on 1/29/2019 8:46 PM CST: She’s n Ohio at a safe
house so hurry

0. 615-636-5512 to 615-838-4651 on 1/29/2019 10:06 PM CST: Blitzen like reign
deer

p. 615-636-5512 to 615-838-4651 on 1/30/2019 12:39 AM CST: Ok I’m going to
start removing toes if not answer

q. 615-636-5512 to 615-838-4651 on 1/30:2019 12:45 AM CST: Alice

t. 615-636-5512 to 615-838-4651 on 1/30/2019 1:04 AM CST: If you argue again I'll
message in 3 hours after she's been raped a lot
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s. 615-636-5512 to 615-838-4651 on 1/30/2019 1:39 AM CST: Drop the money and
go to exit 117 and I tell you where she is safe

t. 615-636-5512 to 615-838-4651 on 1/30/2019 1:39 AM CST: If you don’t then
she’s fucked

u. 615-636-5512 to 615-838-4651 on 1/30/2019 1:39 AM CST: No more arguing

Vv. 615-636-5512 to 615-838-4651 on 1/30/2019 1:40 AM CST: If you don’t you just
killed your daughter end of discussion

w. 615-636-5512 to 615-406-8175 on 1/30/2019 1:42 AM CST: He has 5 minutes to
do it or I send video of me gutting her like a fish

x. 615-636-5512 to 615-406-8175 on 1/30/2019 1:42 AM CST: No more of his
games

y. 615-636-5512 to 615-406-8175 on 1/30/2019 2:00 AM CST: He just signed her
death warrant if he doesn’t stop

a. 615-636-5512 to 615-406-8175 on 1/30/2019 3:24 AM CST: Your husbands going
to get her killed playing his games

b. 615-636-5512 to 615-406-8175 on 1/30/2019 3:25 AM CST: He’s fucked around
for 6 hours now

c. 615-636-5512 to 615-406-8175 on 1/30/2019 3:26 AM CST: For every 30 he’s
late now I remove a body part

d. 615-636-5512 to 615-406-8175 on 1/30/2019 3:27 AM CST: For every time I
message you and no response same

e. 615-636-5512 to 615-838-4651 on 1/30/2019 9:33 AM CST: She will be raped
every hour aft

f. 615-636-5512 to 615-838-4651 on 1/30/2019 10:21 AM CST: In 1 hour they will
start rapeing her ass

g. 615-636-5512 to 615-838-4651 on 1/30/2019 2:25 PM CST: One more lie she’s
dead
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h. 615-636-5512 to 615-838-4651 on 1/30/2019 3:29 PM CST: You listen or I send
you pic of her body

i. 615-636-5512 to 615-838-4651 on 1/30/2019 3:45 PM CST: Go to mall and wait
for me to get money confirmed

The ransom was ultimately negotiated down to $400 and jewelry. CONLEY and the
family of R.W. agreed the father of R.W. would start travelling towards Toledo, OH, to
drop off the newly negotiated ransom.
The FBI, while conducting the kidnapping investigation, determined that on January 29,
2019 at approximately 12:02 AM CST, a witness at Walmart in Oak Grove, KY was
aware of a white male attempted to use R.W.’s credit card. After having the credit card
denied, the unidentified white male left in a grey Ford Taurus. A review of surveillance
video by law enforcement confirmed that a white male left in a grey Ford Taurus.
Further investigative actions related to the kidnapping investigation determined that on
January 29, 2019 at approximately 8:54 AM, an unidentified user attempted to log in to
R.W.’s USAA bank account. The individual provided R.W.’s correct social security
number but failed to correctly answer any of the security questions. At 11:31 AM there
was a successful login to R.W.’s USAA bank account using R.W.’s telephone number.
USAA provided that the telephone number associated with the first attempted login
which was 915-241-7423. An exigent request to Sprint Corporation revealed 915-241-
7423 was registered to CONLEY’s wife, Cynthia Conley, at 1362 Dover Road,
Clarksville, TN 37042.

An NCIC query revealed Cynthia Conley had a gray 2014 Ford Taurus registered to her
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at 31 E Bel Air Blvd, Clarksville, TN 37042. Open source searches revealed Cynthia
Conley and CONLEY had both resided at 31 E Bel Air Blvd, Clarksville, TN 37042.
As described in the iMessage section above, in initial iMessages messages between
CONLEY and M.W., CONLEY offered as proof he had R.W. by providing an address
where R. W.’s Toyota Prius was left. CONLEY told M.W. the Toyota Prius was parked
at 185 Adam Shephard Parkway, Shepherdsville, KY. On January 30, 2019, R. W.’s
Toyota Prius was located at the Kroger located at 185 Adam Shephard Parkway,
Shepherdsville, KY.

Emergency ping orders were obtained for CONLEY’s wife and R.W.’s cellular
telephones. Using the emergency ping order, it was revealed that CONLEY’s wife’s
telephone and R.W.’s telephones were in close proximity throughout the duration of the
pings.

On January 30, 2019 at approximately 2:25 PM CST, while FBI Special Agents were
located with the father of R.W., in the state of Tennessee, the father received a message
from the phone of R.W. with the following text, “One more lie she’s dead”. Location
information provided by the cellular carrier, Verizon Wireless, placed R.W.’s phone at
the following coordinates in the state of Kentucky at 2:25 PM CST on 30 January 2019:
36.96229889 LAT/-87.454605 LONG. These coordinates plot in vicinity of
Hopkinsville, Kentucky.

On January 30, 2019 at approximately 3:30 PM CST, the ransom payment was delivered

to the Tri-State International Trucks Inc located at 200 JW Dickson Drive, Oak Grove,
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KY 42262. An FBI agent placed the ransom drop in a McDonalds bag and then sent a

screen shot of the location to CONLEY who was using R.W.’s phone . (see below)
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wi! Verizon LTE 3:28 PM 4 47% @_)
@ google.com G
= 36.694149, -87.448078 x

36.694149, -87.448078 a

Near Oak Grove, Kentucky

+O) 510m HL 0) NES)

Cc > Ff m A
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21. On January 30, 2019, at approximately 5:30 PM CST, FBI Louisville Division observed a
grey four door sedan, with one person visible inside (the driver), drive toward the trash
cans where the money ransom drop was located. FBI observed the vehicle license plate
had the last three characters "9NO." The vehicle parked just out of view. About 30 seconds
later, the vehicle left the area.

22. FBI Louisville Division followed CONLEY in the 2014 Ford Taurus to a Marathon Gas
Station located at 802 South Main Street, Leitchfield, KY 42754. CONLEY was
arrested at the Marathon Gas Station. Subsequent to the arrest of CONLEY, a search
was performed. During the search of CONLEY’s person, an Apple iPhone A1864, S/N
DX3XHOXEJCLP, was found. This iPhone was later determined to belong to R.W.
CONLEY repeatedly asked FBI personnel to retrieve his telephone, a Samsung Galaxy
S8+ SM-G955U, IMEI 355989084777502, from the center console of the Ford Taurus.

23. Subsequent to the arrest of CONLEY, R.W. was found in the rear passenger seat of Ford
Taurus.

24. The Ford Taurus, VIN 1FAHP2D89EG147917 bearing Tennessee license plate 7JO 9NO,
and contents therein; the Apple iPhone A1864, S/N DX3XHOXEJCLP; and the
Samsung Galaxy S8+ SM-G955U, IMEI 355989084777502 were all seized and
transported FBI Headquarters, located at 12401 Sycamore Station Place, Louisville, KY
40299 for storage.

25. Review of documentation from Apple related to Apple’s iMessaging service reveals that

iMessages travel from the sender’s Devices, in this case R.W.’s iPhone, to the receiver’s

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Devices, in this case M.W.’s iPhone, by way of the telecommunications provider.
iMesssages sent from R.W.’s iPhone with telephone number 615-636-5512 to M.W.’s
iPhone with telephone number 615-838-4651 and R.W’s father’s iPhone with telephone
number 615-406-8175, between 29 January 2019 through 30 January 2019, traversed

through cellular networks located in Kentucky, Tennessee, and Ohio.

Interview of R.W. on January 30, 2019

On January 30, 2019, the FBI conducted an interview of R.W. R.W. advised she met a
person named “Lance” on the dating service “PlentyofFish”. R.W. matched with
“Lance” and began communicating with “Lance” about modeling. R.W. was told by
“Lance” that “Lance’s” agent, CONLEY, could assist R.W. with a modeling career.

“T ance” asked to meet R.W. in Dover, TN on January 26, 2019, but R.W. was told to
meet CONLEY at McDonalds to drive to the location chosen by “Lance”.

On January 27, 2019, R.W. and CONLEY met at a hotel in Brentwood, TN where R.W.
and CONLEY had consensual sexual intercourse. While at the hotel, CONLEY took
nude photographs of R.W. R.W. believed that the photographs were all related to being
a model.

On January 29, 2019, at approximately 1:00 PM or 2:00 PM, R.W. met with CONLEY
at a Kroger near Louisville, KY. R.W. left her car, a Toyota Prius, in the parking lot of
Kroger and got into a car with CONLEY.

After arriving at a location with CONLEY, R.W. was bound and blindfolded for a

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photography shoot. R.W. said she continued to believe the bondage photographs were
taken in relation to modeling. The bondage photographs were taken inside of
CONLEY’s car. Shortly after entering CONLEY’s car, CONLEY took R.W.’s telephone
and she was not allowed to use it.

After being bound and photographed, R.W. was convinced to remain out of sight of the
public. R.W. was bound with a rope for several hours and covered with a blanket. R.W.
was told that the police needed photographs of her bound. R.W. recalled seeing an
Elizabethtown sign while being driven around. R.W. was unbound after reaching
Elizabethtown. R.W. and CONLEY slept in CONLEY’s car the night of January 29,
2019. R.W. was led to believe she was still in danger of being targeted by the sex
trafficking ring and CONLEY was waiting to hear from CONLEY’s Chief of Police.

R.W. advised she was encouraged into having sexual intercourse again with CONLEY.

31. During the course of meetings with CONLEY, R.W. and CONLEY discussed the

modeling industry and CONLEY told R.W. that he was an undercover police officer.

CONLEY further advised R.W. that “Lance” was also a police officer and they both

discovered a plot that involved R.W. being targeted on PlentyOfFish to be kidnapped and

sold into a sex trafficking ring.

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When stopping to retrieve the ransom money, CONLEY told R.W. that he was stopping
to retrieve R.W.’s wallet. R.W. advised she did not know CONLEY was retrieving
ransom money. R.W. further advised she was unaware of the ransom demands made to

her family.

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FBI asked if R.W. had met or spoken to “Lance” in person. She said she had only ever
texted him with her phone. She said the messages were green meaning that the
messages were not sent to an iPhone but to another type of phone.

Interview of Conley on January 30, 2019

On January 30, 2019, CONLEY was interviewed by the FBI. CONLEY advised he met
R.W. through his friend “Lance”. CONLEY met “Lance” approximately one year ago
while living in Clarksville, TN. CONLEY stated “Lance” was a police officer.
CONLEY stated that on January 28, 2019 R.W. and “Lance” were supposed to meet at
Land Between the Lakes (LBL), but R.W. did not know how to find the meet location,
therefore CONLEY agreed to help R.W. get to the meet location. CONLEY stated that
“T ance” did not make it to the meet location during his first time with R.W. R.W. and
CONLEY exchanged numbers and began communicating.

On January 29, 2019, R.W. and “Lance” were supposed to meet again, but “Lance” was
arrested. R.W. met CONLEY at a Kroger in Shepherdsville, KY. CONLEY and R.W.
stayed together in a hotel near Bowling Green, KY. After waking in the morning of
January 30, 2019, CONLEY and R.W. drove around talking. CONLEY drove R.W.
back to the Land Between the Lakes area where they hung out. CONLEY received a call
from “Lance” while at Land Between the Lakes. “Lance” told CONLEY that he was not
going to meet R.W., therefore CONLEY could take R.W. home. “Lance” asked
CONLEY to pick up a bag for him at the Flying J on exit 41A. CONLEY stated that

“T ance” told CONLEY to remove cash from the bag and give some of the cash to R.W.

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CONLEY gave R.W. $20 from the bag. CONLEY did not provide a last name of
“Lance”.

CONLEY stated that “Lance” informed him of a plot where R.W. may be kidnapped.
CONLEY was told to drive R.W. around because of the possible danger.

CONLEY stated that he and R.W. had consensual sexual intercourse during their time
together. R.W. stayed in the back seat of CONLEY’s car during her entire stay with
CONLEY.

CONLEY stated “Lance” had “freelancing” photography shoots that R.W. could do to
earn money. CONLEY took photographs of R.W. bound and gagged as part of the
“freelancing” photography shoots. CONLEY also stated that R.W. consented to
CONLEY taking nude photographs of her. CONLEY stated that he only had possession
of R.W.’s telephone when CONLEY took pictures of R.W.

CONLEY stated that he accidently used R.W.’s credit card when seen on surveillance

footage at Walmart on January 29, 2019.

Arrest of Conley on January 30, 2019

When CONLEY was arrested by the FBI on January 30, 2019, agents retrieved $344.66
in cash from his person. Included in the $344.66 were (17) $20.00 bills. Prior to the
loading and placement of the ransom bag, agents made a record of the serial numbers of
the currency placed inside. A comparison of the serial numbers of (17) $20.00 bills in

currency on CONLEY’s person to serial numbers previously recorded was made. A

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total of (15) of the $20.00 bills were exact matches between the currency loaded into the
ransom bag and the currency taken from CONLEY’s person. The other two $20.00 bills
were a suspected match as the last digit of the serial number on the currency loaded into
the ransom bag could not be clearly seen.

While CONLEY was being booked at the FBI office in Louisville, KY, early in the
morning of January 31, 2019, he spontaneously stated in the presence of the agents "this

is what I get for helping out a buddy", indicating towards his handcuffs.

Interview of R.W. on February 13, 2019

On February 13, 2019, R.W. was interviewed again by the FBI about her interaction
with CONLEY between January 26, 2019 and January 30, 2019. R.W. advised that the
“T ance” profile on Plenty of Fish stated that “Lance” was living in the Nashville area
and having a famous family name. R.W. explained that the photo of “Tance” showed a
clean shaven, white male, who was “good looking”. R.W. has only communicated with
“Lance” via messages sent over the Plenty of Fish application and through text messages
on her phone. R.W. advised the first time she communicated with “Lance” was on
January 26, 2019. R.W. has logged onto Plenty of Fish since the kidnapping but the
“Lance” profile has been deleted.

R.W. stated that while talking to CONLEY, he told her that he was interested in
assisting her in developing a modeling portfolio and that individuals could make money

in the modeling business. CONLEY advised that modeling jobs including sexual

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content and/or nudity paid more, up to thousands of dollars. After meeting CONLEY on
January 26, 2019 at the Land Between the Lakes area, R.W. got into the back seat of
CONLEY’s vehicle and he took photos of her on his cell phone, including sexually
suggestive photos. Afterwards, R.W. returned home.

The next day, January 27, 2019, R.W. continued to communicate with CONLEY.
CONLEY told R.W. that “Lance’s” last name was Debeer or DeBeir. R.W. also sent
CONLEY a photo of a coworker, “Missy”, as “Missy” wanted to become involved in
modeling with CONLEY as well. Later on January 27, 2019, CONLEY invited R.W. to
the Extended Stay hotel where they discussed modeling and a modeling contract. While
at the hotel, CONLEY took R.W.’s personal information to include her date of birth,
address, phone numbers, and other personal details for the modeling contract.

CONLEY convinced R.W. to have sex with him that night for the purpose of developing
her modeling portfolio. CONLEY also had R.W. drink an unknown substance from a
red Yeti container. Afterwards, R.W. returned home.

On January 28, 2019, “Lance” contacted R.W. and asked to meet her at the Land
Between the Lakes, with CONLEY being available to drive her to the location. R.W.
advised that again “Lance” was a “no show”. During this meeting with CONLEY, R.W.
advised she had placed her purse and backpack in CONLEY’s vehicle. Inside her
backpack was her wallet, which contained various personal cards, including her USAA
credit card, USAA debit card, social security card, and other affects. CONLEY advised

R.W. that “Lance” had been arrested for a second time and could not make the meeting,

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so R.W. drove home, however R.W. forget to retrieve her purse and backpack from
CONLEY’s vehicle. While driving home, R.W. contacted CONLEY about her purse
and backpack she left in his vehicle. CONLEY stated he had her purse and backpack
and that she could come to a hotel near Fort Campbell to retrieve them. R.W. went
home instead.

R.W. advised that on January 29, 2019, she had received a fraud alert from USAA
regarding her USAA bank account. R.W. logged in to check on her account. R.W.
advised she never gave CONLEY permission to use her identity or credit/bank cards.
R.W. remembers that the alert stated there were two unauthorized transactions from
Walmart and/or Mapco.

On January 29, 2019, CONLEY contacted R.W. advising there was a photo shoot in
Kentucky and he instructed her to start driving towards Louisville. R.W. ran out of gas
along the way and eventually met CONLEY at the Kroger in Shepherdsville around 1:30
pm. Upon meeting CONLEY at the Kroger, she entered his vehicle. CONLEY advised
that the previously mentioned photo shoot was a bondage scene. Additionally,
CONLEY gave R.W. a red Yeti container, the same as from the previous meeting, and
directed her to drink the contents. After drinking the contents, R.W. became very
sleepy. CONLEY stopped and tied R.W.’s hands, feet, and mid-section explaining it
was for the bondage scene. CONLEY also gagged R.W. and put a hood over her head.
R.W. then fell asleep for about two hours and when she woke up, she had no idea where

she and CONLEY were located.

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R.W. advised that shortly after getting into CONLEY’s vehicle on January 29, 2019, he
took her iPhone from her, saying he wanted to get some video’s from it. R.W. gave
CONLEY her password and never saw her iPhone again.

At some point on January 29, 2019, R.W. told CONLEY that she wanted to be cut loose
and return home. CONLEY eventually cut R.W. loose but would not take her to her car
or home saying that R.W. had been targeted by a sex trafficking ring and it was not safe
for her to return that night. Eventually CONLEY parked the vehicle in a secluded
parking lot and got into the back seat with R.W. where he pressured her into have sexual
intercourse with him.

On January 30, 2019, CONLEY began driving again and R.W. told him she needed to
return to her car to go to work. R.W. advised that CONLEY kept “blowing her off”. All
day on January 30, 2019, CONLEY did not stop to let R.W. get anything to eat and
CONLEY told her that he had made plans for her to stay with him another night and that
she still couldn’t go home. Later CONLEY was arrested.

R.W. advised that she never would have had sexual intercourse with CONLEY if she
knew he was lying about being a modeling agent or undercover cop.

At the conclusion of the interview, the FBI returned some of R.W.’s personal property
which had been in CONLEY’s Ford Taurus. R.W. advised that several of the items in
her purse had been given to her by CONLEY. Those items were new sharpies, Pilot G2
ink pens, a 2019 calendar, a black portfolio, and a black business card holder. (see

below)

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Search of Bryan Conley’s Ford Taurus, VIN: 1FAHP2D89EG147917

55. The FBI executed a search warrant of CONLEY’s Ford Taurus at the FBI Louisville
Field Office. Search of the Ford Taurus revealed various items of evidentiary value as
discussed below.

A. The FBI recovered, from the rear driver’s side passenger seat and floor, a
multicolored blanket and a green and black bungee cord with duct tape on it. These
items matched the items seen in a proof of life photo sent to R.W’s mother. The
proof of life photo showed R.W. bound and laying on a car’s seat during her

kidnapping. (see below)

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B. The FBI recovered, from the front passenger seat, a small sandwich bag with
various gold jewelry inside. These items matched items which were provided to
CONLEY as part of the ransom demand placed inside a McDonalds bag. FBI
agents, directing R.W.’s parents at the time of the kidnapping, took a photo of these

items in the event that the image of the gold jewelry needed to be sent to CONLEY.

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C. The FBI recovered, from under the front driver’s seat, a black 1911 BB gun loaded

with a magazine containing BBs.The FBI recovered, from the front passenger seat,

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black zip ties.

D. The FBI recovered, from the front passenger seat, a purple bottle of NyQuil
ZzzQuil and a 36 oz red Yeti container. This matches the description of the
container that CONLEY gave to R.W. containing an unknown substance which

after drinking, caused her be become extremely drowsy and eventually fall asleep.

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E. The FBI recovered, from a back pack in the trunk, additional zip ties, a Trojan

condom package, and a second black 1911 BB gun.

F. The FBI recovered a Walmart receipt dated 1/28/2019 at 5:02 PM showing the

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purchase of rope, cable ties, tap measure, and spring binders from the location of
1680 Fort Campbell Blvd, Clarksville, TN. Legal process to Walmart confirmed
this transaction and included still shots of CONLEY at the register purchasing these

items. In CONLEY’s hand appears to be the same rope that was used to bind R.W

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G. The FBI recovered a notebook which contained R.W.’s phone number, email

address, and physical dimensions.

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H. The FBI recovered a McDonalds bag, containing coffee creamers and other
condiment items, which is believed to be the ransom bag that CONLEY retrieved
from the Tri-State International Trucks Inc. located at 200 J W Dickson Drive, Oak

Grove, KY on January 30, 2019.

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I. The FBI recovered various Walgreens receipts for Vanilla Visa cards valued at
$200.00 each.

J. The FBI recovered a note from the trunk of CONLEY’s vehicle. The note stated
the following:

Hello no cops

Things you need

Kalie + x husband + BBC 8+
10K — all $20.00

Hotel

Your phone # on your car
Ill message soon

Next time its your kids
DP must nut

In all holes 2x

Each

Correspondence with R.W. on 19 February 2019

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56. On February 19, 2019, R.W. sent an email advising that she had found some photos used

for the Plenty of Fish “Lance” profile on the internet. One of those images is shown

below.

Search of R.W.’s Apple iPhone A1864, S/N DX3XHOXEJCLP, 615-636-5512

57. The FBI conducted a search of R.W.’s Apple iPhone at the FBI Louisville Field Office.

Search of the Apple iPhone revealed various items of evidentiary value as discussed

below:

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A. The outgoing call log showed (4) calls to phone number 915-777-3617 which had
been deleted between 1/28/2019 and 1/29/2019.

B. Safari search terms on 1/26/2019 for “mcedonald’s in dover tn”, on 1/27/2019 for
“debate jewelry”, “des barres jewelry”, “famous jewelry brands”, and “famous”.

C. Images on the iPhone which show four pictures of a white male that R.W. identified
on February 19, 2019 as being “Lance” from the Plenty of Fish “Lance” profile. Of
note, two were marked for deletion on January 29, 2019 at 1:32:55 PM (UTC-6)
and 1:32:58 PM (UTC-6).

D. Image on the iPhone which shows R.W. bound and gagged which was marked for
deletion on January 29,2019 at 6:43:11 PM (UTC-6).

E. Image on the iPhone which shows R.W.’s coworker, Missy Cox, which was marked
for deletion on January 29, 2019 at 6:43:11 PM \(UTC-6).

F. Images on the iPhone which show a nude buttocks and hands bound with tape
behind a person’s back. [believed to be R.W.]

G. Image of screen shot of a pin drop location of the ransom drop discovered on
R.W.’s iPhone which was sent by the FBI to R.W.s phone used by CONLEY to
communicate the ransom drop location at Tri-State International Trucks.

H. Image on the iPhone which was sent to CONLEY, at FBI direction, of the ransom
drop bag, a McDonald’s carry out bag placed at the edge of a paved surface and
grass.

I. Two iMessage threads, one between R.W.’s phone and R.W.’s mother’s phone and

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another between R.W.’s phone and R.W.’s father’s phone. The discussion is
related to the kidnapping and paying of a ransom. | should be noted that many of
the iMessages do not appear on R.W.’s phone and are suspected of being deleted by
CONLEY.

J. One SMS thread between R.W.’s phone and R.W.’s mother’s phone related to

paying the kidnapping ransom.

Search of B. Conley’s Samsung Galaxy S8+ SM-G955U, IMEI 355989084777502

58. The FBI conducted a search of CONLEY’s Samsung Galaxy. Search of the Samsung
Galaxy revealed various items of evidentiary value as discussed below:

A. Thousands of pornographic images and at least (2) images of child pornography.
An FBI Special Agent who is an expert in violent crimes against children (VCAC)
reviewed the (2) images of child pornography for confirmation.

B. Screenshots of text messages which include photos of a light skinned black male
with his shirt unbuttoned and the text messages identifying himself as Eric De Beer
and being number 1 in the diamond business. Additional photos inside the
screenshots show close ups of a black male penis. On some screenshots an image
of a Chase checking account (...4417) with Available Balance ($9,999,991.51) is
included.

C. Images of the same white male whom R.W. identified as “Lance”.

D. Hundreds of pornographic video clips.

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E. An unsent text message to CONLEY’s wife with the number “1008”. This number
is the passcode to R.W.’s iPhone. Directly above the unsent message is R.W.’s
mother’s phone number.

é Cynthia Q
12136300758

18:48

Wednesday, January 9, 2019

Gatlin Point Self Service (QC))

Campground

Gatlin Point Self Service

Campground

Dover, TN 37058

(270) 924-2000

https://maps.app.goo.al
521 /XtkGP

Monday, January 28, 2019

To all agents ( )
Agents meeting 28 Jan 2019
from 5 tep

We will be making the
following changes.

Men 28 jan 2019 from 5 to 9
at our Louisville distro
Ladies 30 jan 2019 from 7 to
10 at our Nashville distro

All sexually explicit photos
will also be on the 30th.
There will be an increase in
tates for sex

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oyar 6158384651 ~~

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aysp Hwnbputcbmu81 (Q))

2 | nter message ©

F. Acontact in CONLEY’s phone identified as “Lance” using phone number 915-777-
3617.

G. An active user account for TextMe, Inc. on CONLEY’s phone with user name
bhtown101b4414 and TextMe, Inc. phone number 213-630-0758.

H. TextMe chat sessions between R.W. and the TextMe, Inc. user name

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bhtown101b4414 in which R.W. identifies this user as “Lance”. The user tells
R.W. on January 26, 2019 at 11:18 PM that R.W. can contact CONLEY at phone
number 915-777-3617 to meet at the McDonalds in Dover.

I. Four text messages between CONLEY and the “Lance” contact on January 29,
2019.

J. Photos of R.W. nude.

K. Video of R.W. and CONLEY engaging in various forms of sexual intercourse.

L. Video of a young black female, wearing pink under garments, dancing. This video
is dated November 10, 2018.

M. A contact in CONLEY’s phone identified as “Bric” using telephone number 915-
248-0746.

59. Legal processes was served on TextNow for the telephone number 915-777-3617.
TextNow provided records which contained two files related to phone number 915-777-
3617 and Username: loveiseasy2862. The information TextNow provided is as follows:
1) Telephone number: 915-777-3617 is associated with email:
loveiseasy2862@gmail.com for the period of: 1/2/2019 02:09:41 UTC - 1/31/2019

04:59:59 UTC.

Probable Cause — Bank Fraud and Aggravated Identity Theft

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60. During the course of R.W.’s kidnapping on January 29, 2019 and January 30, 2019, the
FBI sought financial records for R.W. which could identify her potential use of credit
cards or debit cards in order to locate where she had been prior to, and during the time,
that she had been kidnapped. Additionally, the FBI sought to identify any associates
she may have been with prior to the kidnapping. The FBI became aware that on
January 29, 2019, shortly after midnight, R.W.’s Visa credit card, with number 4270-
879()-5352-2402, had been declined twice by her bank at the Walmart Supercenter
located at 14800 Fort Campbell Blvd., Oak Grove, KY 42262.
61. Video files/clips provided by Walmart identified CONLEY as attempting to use R.W.’s
Visa credit card, with number 4270-8290-5352-2402, at the Walmart register during
the time in question. Walmart provided video of CONLEY at the register and they also
provided electronic records from the register for the attempted purchase, which
consisted of CONLEY attempting to purchase (2) Vanilla Prepaid Mastercard gift
cards for $200/each.
62. Walmart provided the below business records of the electronic transaction details:
ST# @3362 OP# 009044 TE# 44 TR# 07339
VMC 200 079936640140 206.88 O
VMC 200 079936640140 206.88 O

SUBTOTAL 413.76

TOTAL 413.76

EXPIRATION DATE 92/21

EMV TENDER DECLINED ONLINE
EMV TENDER DECLINED OFFLINE
CARD ISSUER DENIED THE CHARGE
VOIDED BANKCARD TRANSACTION
CAMT 800000041376

Visa Credit

AID AQQQQ000031010

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ICC 0848 en

TVR 9080008000 CVMR 5EQ300 ARC 51
AAC E77259247BF69B10

TAD D45CA965CD3A60903531

ATC 0022 UP# 61127@BF TSI F800
TERMINAL # SCQ10024

@1/29/19 00:01:27

EXPIRATION DATE 02/21

EMV TENDER DECLINED ONLINE

EMV TENDER DECLINED OFFLINE

CARD ISSUER DENIED THE CHARGE
VOIDED BANKCARD TRANSACTION

CAMT 000000041376

Visa Credit

AID AQQ00000031010

ICC 0840 en

TVR @Q@80008000 CVMR 5EQ3@@ ARC 95
AAC D@8E6COC4EE1EFOB

TAD 6DA254DA80C2BA223035

ATC @@23 UP# 34AA648A TSI F800
TERMINAL # SCQ10024

Q1/29/19 00:02:23

CSM @@@06236 ASHLEY JON

CSM @@@09052 SELF CHECKOUT MGR#52 2
===== CSM ABORT TRANSACTION ====
# VOIDS= @ ** AMT VOIDS= @.00
===== CSM APRROVED ABORT =====
*kKEEEK TRANSACTION CANCELED eee ae

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63. During interviews with R.W., the FBI became aware of R.W. leaving her purse and

backpack in CONLEY’s vehicle on January 28, 2019. Inside R.W.’s purse and

backpack were various personal identification documents and bank/credit cards.

CONLEY admitting to attempting to use R.W. credit card, explaining that it was an

accident, however it seems unlikely that CONLEY would mistake R.W.’s card for his

own considering R.W.’s personal and credit/bank cards were inside her purse.

64. The FBI also became aware of an unauthorized attempt to log into R.W.’s bank

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65.

66.

account on January 29, 2019 at approximately 8:54 AM. The individual who
attempted to log into R.W.’s bank account used an unregistered phone number of 915-
941-7423. Bank records showed that R.W. regularly logged into her account profile
via an iPhone. The bank reported that the correct social security number was provided
but the authentication questions were answered incorrectly by the user of 915-241-
7423.

As previously documented, subscriber records for 915-241-7423 returned to Cynthia
Conley, CONLEY’s wife. Additionally, when CONLEY was arrested on January 30,
2019 by the FBI, this phone was found inside his vehicle.

The credit union associated with R.W.’s USAA card is a federally insured financial
institution.

Probable Cause — Interstate Threats

67. As noted previously in this affidavit, CONLEY sent multiple messages to both of R.W.’s

parents containing threats about R.W.s safety and well being. Those messages were

transmitted utilizing telecommunications equipment and crossed state lines. During the

times of the messages listed below, geolocational data taken from CONLEY’s phone,

was graphed showing him to be in the following locations while R.W.’s parents were

located in and around Brentwood, TN. See the below analysis of CONLEY’s location

at or near the times the listed communications of interest were sent to R.W.’s parents:

a. 615-636-5512 to 615-838-4651 on 1/29/2019 1:45 PM CST: Good I am actually
the woman who has your daughter. No cops. Nothing stupid ok
b. 615-636-5512 to 615-838-4651 on 1/29/2019 1:46 PM CST: Or I sell her and you

won’t see her again

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Geolocational data from CONLEY’s phone showed him in the vicinity of Pendleton,

KY on 1/29/2019 at 1:44 PM CST.

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c. 615-636-5512 to 615-838-4651 on 1/29/2019 1:54 PM CST: One cop or police
report she’s done. Goal is close to 20,000 as you can
Geolocational data from CONLEY’s phone showed him in the vicinity of Carroll

County KY on 1/29/2019 at 1:54 PM CST.

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d. 615-636-5512 to 615-838-4651 on 1/29/2019 3:18 PM CST: My contact will be
here in 12 hours to buy thensex slaves

e. 615-636-5512 to 615-838-4651 on 1/29/2019 3:19 PM CST: You got till then

£ 615-636-5512 to 615-838-4651 on 1/29/2019 3:21 PM CST: No marked bills or
anything over a 50
Geolocational data from CONLEY’s phone showed him in the vicinity of Gallatin

County, KY on 1/29/2019 at 3:18 PM CST,

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Case 3:23-cr-00014-DJH Document 1-1 Filed 01/31/23 Page 38 of 40 PagelD #: 39

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g. 615-636-5512 to 615-838-4651 on 1/29/2019 6:51 PM CST: Hurry up or she will
be sold soon

Geolocational data from CONLEY’s phone showed him in the vicinity of

Wapakoneta, OH on 1/29/2019 at 6:50 PM CST.

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h. 615-636-5512 1/29/2019 8:45 PM CST: Your daughter will be sold soon if your

i

not on the fucking road

615-636-5512 to 615-838-4651 on 1/29/2019 8:46 PM CST: She’s n Ohio at a
safe house so hurry

Geolocational data from CONLEY’s phone showed him in the vicinity of Old

West Chester, OH on 1/29/2019 at 8:45 PM CST.

(OM ecb eeria Ut)

615-636-5512 to 615-838-4651 on 1/29/2019 8:49 PM CST: She will be missing
fingers and toes if you don't hurry le fuck up

Geolocational data from CONLEY’s phone showed him in the vicinity of

Glendale, OH on 1/29/2019 at 8:49 PM CST.

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ty Z
Daniel W. uty

Special Agent
Federal Bureau of Investigation

Subscribed and sworn to via telephone on January 31, 2023.

We La

Colin H Lindsay, Magistrate Judge

United States District Court

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